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                  8                         UNITED STATES DISTRICT COURT
                  9                       CENTRAL DISTRICT OF CALIFORNIA
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                 11   PORTIA MASON, individually and on             Case No. 2:21-cv-03337-DSF-AFM
                      behalf of all others similarly situated,
                 12                                                 ORDER FOR DISMISSAL OF
                                   Plaintiff,                       ENTIRE ACTION WITH
                 13                                                 PREJUDICE PURSUANT TO F.R.C.P.
                            v.                                      RULE 41(a)(1)(A)(ii)
                 14
                    AGENT PROVOCATEUR                               [Concurrently filed with Joint Stipulation
                 15 INTERNATIONAL (US) LLC, a                       for Dismissal of Entire Action With
                    Delaware limited liability company; and         Prejudice Pursuant to F.R.C.P. RULE
                 16 DOES 1 to 10, inclusive,                        41(A)(1)(A)(II)]
                 17                                                 Complaint Filed: April 19, 2021
                                   Defendants.                      Trial Date:      None
                 18                                                 District Judge: Hon. Dale S. Fischer
                                                                                     Courtroom 7D, First St.
                 19                                                 Magistrate Judge:Hon. Alexander F.
                                                                                     MacKinnon,
                 20                                                                  Courtroom 780, Roybal
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                                                                                    Case No. 2:21-cv-03337-DSF-AFM
                                        ORDER FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
renee wpd docx                                 PURSUANT TO F.R.C.P. RULE 41(A)(1)(A)(II)
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                  1           Pursuant to the parties’ Joint Stipulation for Dismissal of Entire Action with
                  2 Prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, IT

                  3 IS HEREBY ORDERED:

                  4               1. The above-entitled action is dismissed in its entirety with prejudice.
                  5               2. This Court shall retain jurisdiction over the parties and the action until
                  6                  July 29, 2022 for the sole purpose of enforcement of the parties’
                  7                  obligations under Section 2(C) of the parties’ Confidential Settlement
                  8                  Agreement and Release of Claims, which reads as follows:
                  9
                            Within one (1) year of the Effective Date, Defendants shall use good faith
                 10         efforts to cause those portions of the Website that are covered by Title III of
                            the ADA to be in a condition or state that allows individuals with disabilities
                 11         based on a visual impairment within the meaning of the ADA who use
                            screen-reader software and web browsers to gain the same information and
                 12         engage in the same transactions with an ease of use substantially equivalent
                            to that of a sighted person using the Website without screen-reader software
                 13         (“ADA Compliant”). The Parties agree that “ADA Compliant” shall include
                            being in substantial conformance with WCAG 2.0 Level AA or WCAG 2.1,
                 14         but that substantial conformance with WCAG 2.0, Level AA or WCAG 2.1
                            is neither the test for ADA Compliance nor the sole method of achieving
                 15         ADA Compliance. The Parties further agree that Defendants can link to, or
                            be linked from, Third-Party Content (as defined below) and Defendants shall
                 16         not be responsible or liable for the state of its accessibility to individuals with
                            disabilities. (The term “Third-Party Content” refers to websites or web
                 17         content that are not developed, owned, or operated by the Released Parties as
                            defined below.) The Parties further agree that ADA Compliant shall include
                 18         substantial conformance with any standard or opinion later established or
                            recognized by the United States Supreme Court, any U.S. Circuit Court of
                 19         Appeals or the U.S. Department of Justice. If Defendants’ ability to meet the
                            deadline for compliance with this Section 2(C) is delayed by third-party
                 20         vendors, acts of God, force majeure or other reasons that are outside of
                            Defendants’ control, the Parties’ respective counsel shall meet and confer
                 21         regarding an extended deadline. If the Parties cannot reach an agreement
                            regarding an extended deadline after such meet-and-confer efforts, either
                 22         Party will have the right to seek judicial relief.
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                                                                   1                  Case No. 2:21-cv-03337-DSF-AFM
                                          ORDER FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
renee wpd docx                                   PURSUANT TO F.R.C.P. RULE 41(A)(1)(A)(II)
            Case 2:21-cv-03337-DSF-AFM Document 14 Filed 09/24/21 Page 3 of 3 Page ID #:74



                  1          3. Each party shall bear her or its own fees, costs, and attorneys’ expenses.
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                  3       IT IS SO ORDERED.
                  4   DATED: September 24, 2021
                  5                                         Honorable Dale S. Fischer
                                                            UNITED STATES DISTRICT JUDGE
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                                                              2                  Case No. 2:21-cv-03337-DSF-AFM
                                     ORDER FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
renee wpd docx                              PURSUANT TO F.R.C.P. RULE 41(A)(1)(A)(II)
